                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN


LOUIS KEYS,

             Plaintiff,

      v.                                           Case No. 20-CV-1235

JOSEPH COLE, et al.,

             Defendants.


                                     ORDER


      Plaintiff Louis Keys filed a “motion to clarify, motion to amend/correct

complaint.” (ECF No. 13.) The motion does not relate to this case. (See id.) It only

mentions questions and issues about a different case pending before Judge

Adelman, 20-cv-184 Keys v. Waldschmidt. Accordingly, the court will deny Keys’s

“motion to clarify, motion to amend/correct complaint.” Judge Adelman will resolve

the motion in his case.

      IT IS THEREFORE ORDERED that Keys’s motion to clarify, motion to

amend/correct the complaint (ECF No. 13) is DENIED.

      Dated at Milwaukee, Wisconsin this 9th day of November, 2020.




                                             WILLIAM E. DUFFIN
                                             U.S. Magistrate Judge




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